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                    /s/ Andrea L. Betts                       04/
                                                                  /2023



                     Andrea L. Betts
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                                       PO BOX 619094 Dallas TX 75261
  Kurtland Johnson
  Assistant Secretary            /s/                         04/13/2023
  Nationstar Mortgage LLC
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